                                    United States Bankruptcy Court
                                     Eastern District of Michigan
                                          Southern Division


In re:
David W. Stobbe
d/b/a X-Change Communication,
d/b/a X-Change Money,
d/b/a Wanna Safe Chimney and
Karen Stobbe,                                                        Case No. 10-45703-R
                    Debtors.                                         Chapter 7
_________________________________/

John Jabero,
                       Plaintiff,

v.                                                                   Adv. No. 10-5391

David Stobbe,
d/b/a X-Change Communication,
d/b/a X-Change Money,
d/b/a Wanna Safe Chimney,
                    Defendant.
_________________________________/



                         Opinion Regarding Motion to Amend Complaint

                                                  I.

        The debtors, David and Karen Stobbe, filed for chapter 7 relief on February 25, 2010. The

meeting of creditors was set for April 8, 2010, and the bar date for objections to discharge was set

for June 7, 2010.

        On April 30, 2010, John Jabero filed this adversary proceeding against the debtors.1 In the

complaint, Jabero stated that his company, A & R Communications Inc., obtained a judgment against

the debtors on October 5, 2009 for $291,172.64. Jabero objected to the debtors’ discharge pursuant


1.      On August 31, 2010, the parties stipulated to dismiss Karen Stobbe from the complaint.



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to § 727(a)(2)(A), (a)(3), (a)(4)(A), and (a)(5).

        The debtors filed their answer and affirmative defenses on June 16, 2010, alleging, in part,

that Jabero did not have standing to file a complaint objecting to the discharge because he was not

a creditor.

        Jabero has filed a motion to amend the complaint, seeking to substitute A & R

Communications as the plaintiff. Jabero has also filed a motion for summary judgment. The Court

conducted a hearing on both motions on November 15, 2010, and took the matters under advisement.

                                                    II.

        In support of his motion to amend the complaint, Jabero relies on Fed. R. Civ. P. 15(c). He

argues that the debt at issue arose from a promissory note wherein the Stobbes agreed to pay Jabero

and/or A & R Communications $358,604.67. Jabero asserts that, on October 5, 2009, a judgment was

entered, based on the promissory note, against the Stobbes in favor of A & R Communications and

intervening plaintiff, Citizens Bank, in the amount of $291,172.64. The judgment did not include

Jabero. Jabero contends that when he filed the adversary proceeding, his attorney did not realize that

the judgment was not held by Jabero, but was held by A & R Communications.

        Jabero contends that A & R Communications is the real party in interest and therefore must

be substituted in as the plaintiff. Jabero argues that the amendment relates back to the date of the

filing of the adversary proceeding because A & R Communications has sufficient identity of interest

with Jabero, the sole shareholder of A & R Communications. Jabero asserts that he merely seeks to

correct a mistake in naming the wrong plaintiff and that a grave injustice will result if this case is

dismissed because he is not a proper party.

        In support of his motion for summary judgment, Jabero contends that the Court ordered


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Stobbe to respond to requests for admissions by October 18, 2010, but he failed to do so. Jabero also

asserts that Stobbe admitted at his 341 meeting that he failed to keep books and records regarding his

ATM, pay telephone and tire air machine businesses.

       Stobbe argues that the motion to amend should be denied and the case dismissed. He

contends that if A & R Communications is the proper party, the case should be dismissed as untimely

because the bar date to file objections to discharge was June 7, 2010.

       In response to the motion for summary judgment, Stobbe contends that he did file a response

to the requests for admissions on October 18, 2010. Further, he contends that there is no proof that

he concealed, destroyed, or falsified any records.

                                                  III.

       Fed. R. Civ. P. 15(c)(1) provides, in part:

               (c) Relation Back of Amendments.

               (1) When an Amendment Relates Back. An amendment to a pleading
               relates back to the date of the original pleading when:

                       (B) the amendment asserts a claim or defense that
                       arose out of the conduct, transaction, or occurrence set
                       out--or attempted to be set out--in the original
                       pleading; or

                       (C) the amendment changes the party or the naming of
                       the party against whom a claim is asserted, if Rule
                       15(c)(1)(B) is satisfied and if, within the period
                       provided by Rule 4(m) for serving the summons and
                       complaint, the party to be brought in by amendment:

                       (i) received such notice of the action that it will not be
                       prejudiced in defending on the merits; and

                       (ii) knew or should have known that the action would
                       have been brought against it, but for a mistake
                       concerning the proper party's identity.

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Fed. R. Civ. P. 15(c).



       “[A]mendments pursuant to Rule 15(c) should be freely allowed.” FHC Equities, L.L.C. v.

MBL Life Assur. Corp., 188 F.3d 678, 685 (6th Cir. 1999) (citing Staren v. American Nat'l Bank &

Trust Co. of Chicago, 529 F.2d 1257, 1263 (7th Cir. 1976)).

       Rule 15(c) as written only applies to amendments adding defendants to an action. However,

the Advisory Committee Notes for the 1966 Amendment to Rule 15 indicate that the rule also applies

to amendments changing a plaintiff. See 39 F.R.D. 69, 83-84 (1966) (“The relation back of

amendments changing plaintiffs is not expressly treated in revised Rule 15(c) since the problem is

generally easier. Again the chief consideration of policy is that of the statute of limitations, and the

attitude taken in revised Rule 15(c) toward change of defendants extends by analogy to amendments

changing plaintiffs.”). Further, courts have consistently applied Rule 15(c) criteria to amendments

changing plaintiffs. See Flores v. Cameron County, Texas, 92 F.3d 258, 272-73 (5th Cir. 1996);

FDIC v. Conner, 20 F.3d 1376, 1385-86 (5th Cir.1994); Allied Int'l, Inc. v. Int'l Longshoremen's

Ass'n, 814 F.2d 32, 35 (1st Cir. 1987).

       The Sixth Circuit has consistently held that an amendment which seeks to add, rather than

substitute a party, “‘creates a new cause of action and there is no relation back to the original filing

for purposes of limitations.’” Leitch v. The Lievense Ins. Agency, Inc. (In re Kent Holland Die

Casting & Plating, Inc.), 928 F.2d 1448, 1449 (6th Cir. 1991) quoting Marlowe v. Fisher Body, 489

F.2d 1057, 1064 (6th Cir. 1973) and citing Smart v. Ellis Trucking Co., 580 F.2d 215, 218 (6th Cir.

1978), cert. denied, 440 U.S. 958, 99 S. Ct. 1497 (1979). See also Collyer v. Darling, 98 F.3d 211,

220 (6th Cir. 1996) (under Rule 15(c), “amendments will not survive preclusive application of the


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statute of limitations unless the amendments are corrections of misnomers.”).

       The Sixth Circuit recently addressed, for the first time, the applicability of Rule 15(c) to a

motion to amend to add plaintiffs, as opposed to defendants. In Asher v. Unarco Material Handling,

Inc., 596 F.3d 313 (6th Cir. 2010), a group of employees of a Wal-Mart Distribution Center sued the

defendants for negligence, arguing that the work performed by the defendants at the distribution

center caused a discharge of carbon monoxide which injured the plaintiffs. After the limitation

period had run on the cause of action, the plaintiffs filed a motion to amend the complaint to add 33

additional plaintiffs. The defendants argued that the new plaintiffs’ action was barred by the one year

statute of limitations and that their claims did not relate back to the timely filed complaint.

       The court rejected the plaintiffs’ argument that relation-back should apply, stating:

                 Although various courts have extended the relation-back provisions of
                 Rule 15(c)(1)(C) to amendments changing identities of plaintiffs, see,
                 e.g., Young ex rel. Nutramax Litig. Trust v. Lepone, 305 F.3d 1, 14
                 (1st Cir. 2002); SMS Fin., LLC v. ABCO Homes, Inc., 167 F.3d 235,
                 244-45 (5th Cir. 1999); Nelson v. County of Allegheny, 60 F.3d 1010,
                 1014 (3d Cir. 1995), the type of “changes” permitted are limited to
                 corrections of misnomers or misdescriptions. See In re Kent Holland
                 Die Casting & Plating, Inc., 928 F.2d at 1450; Cox v. Treadway, 75
                 F.3d 230, 240 (6th Cir. 1996) (holding that substitution of a “John
                 Doe” defendant with a named party is not a misnomer but a “change
                 in parties” that does not relate back); Young, 305 F.3d at 15 (stating
                 that relation back applies when the original plaintiffs and the new
                 plaintiffs have a “sufficient identity of interest” or “a fairly advanced
                 degree of privity”); Leachman v. Beech Aircraft Corp., 694 F.2d 1301,
                 1309 (D.C. Cir. 1982) (“The point of the courts’ consideration of
                 identity of interest is that that factor ensures that the old and new
                 plaintiffs are sufficiently related so that the new plaintiff was in effect
                 ‘involved in [the proceedings] unofficially from an early stage.’”).

Id. at 318-19.

       The court continued:

                 In urging relation back of their claims, the new plaintiffs did not seek

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                to correct a misnomer or misdescription of a proper party plaintiff
                already in court, nor did they attempt “to change the capacity in which
                [they] sue[d]; or to substitute or add as plaintiff[s] the real party
                interest; or to add additional plaintiffs where the action, as originally
                brought, was a class action.” Hill v. Shelander, 924 F.2d 1370, 1376
                (7th Cir. 1991) (describing circumstances under which “[a] plaintiff
                may usually amend his complaint under Rule 15(c)”) (citations and
                internal quotation marks omitted). Instead, they attempted to
                circumvent the statute of limitations, adding new parties and new
                claims.

Id. at 319.

        Here, the plaintiff is attempting to substitute as plaintiff the real party in interest, which, as

the Sixth Circuit suggested in Asher, may be a situation where relation back is appropriate.

        In Allied Int’l, Inc. v. International Longshoremen’s Ass’n, AFL-CIO, 814 F.2d 32 (1st Cir.

1987), the issue before the court was the relation back of an amendment changing plaintiffs. The new

plaintiff had purchased all of the assets of the original plaintiff. The court recognized that, although

the issue of substituting plaintiffs is not explicitly addressed in Rule 15(c), that Rule should apply.

Id. at 35. The court described the criteria for relation back when changing plaintiffs as follows:

                [T]he amended complaint must arise out of the conduct, transaction,
                or occurrence set forth or attempted to be set forth in the original
                pleading; there must be a sufficient identity of interest between the
                new plaintiff, the old plaintiff, and their respective claims so that the
                defendants can be said to have been given fair notice of the
                latecomer's claim against them; and undue prejudice must be absent.

Allied Int'l at 35-36 (citations omitted).

        In this case, it is clear that A & R Communication’s claim arose out of the same occurrence

set forth in the original complaint. The amendment seeks only to change the identity of the plaintiff

and does not add any new allegations.

        With respect to identity of interest, Jabero is the sole shareholder, director, president, treasurer



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and secretary of A & R Communications. Stobbe was aware that the promissory note was in the

name of Jabero and A & R Communications and that the judgment was in the name of A & R

Communications. The identity of interest requirement “ensures that the old and new plaintiffs are

sufficiently related so that the new plaintiff was in effect involved in [the proceedings] unofficially

from an early stage.” Leachman v. Beech Aircraft Corp., 694 F.2d 1301, 1309 (D.C. Cir. 1982)

(citation and internal quotation marks omitted). The Court concludes that there is sufficient identity

of interest between Jabero and A & R Communications.

       Finally, Stobbe has not alleged, and the Court does not find, any prejudice.

       Accordingly, the plaintiff’s motion to amend the complaint to substitute A & R

Communications as the plaintiff is granted.



Not for Publication.
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Signed on December 17, 2010
                                                                      /s/ Steven Rhodes
                                                              Steven Rhodes
                                                              United States Bankruptcy Judge




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